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              IN THE UNITED STATES DISTRICT COURT 3 .,,°'r3T
             FOR THE SOUTHERN DISTRICT OF GEORGIC I i34~
                      BRUNSWICK DIVISIO N




UNITED STATES OF AMERIC A

               Plaintiffs

       V.                                                CR 205-3 4

SANJAYKUMAR PATEL

               Defendants




                                       ORDE R




       The order of the court entered on November 1, 2005 is hereby amended to reflect the

rate for the non-certified interpreter shall be $156 .00 per day with a minimum of one half

day's compensation of $86.00 .

       SO ORDERED this _ day of ~                   ..           , 2005 .




                                     ANTHONY A . LAIM O
                                     UNITED STATES DISTRICT JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
